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                                                                                   13   VICTOR R. DEL LLANO
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                                                                                   14
                                                                                                           UNITED STATES DISTRICT COURT
                                                                                   15                    SOUTHERN DISTRICT OF CALIFORNIA
                                                                                   16
                                                                                        VICTOR R. DEL LLANO, individually  )    Case No. '17CV1429 AJB MDD
                                                                                   17   and on behalf of others similarly  )
                                                                                   18
                                                                                        situated,                          )    CLASS ACTION
                                                                                                                           )
                                                                                   19                Plaintiff,            )    CLASS ACTION COMPLAINT FOR
                                                                                   20
                                                                                                                           )    DAMAGES
                                                                                               vs.                         )
                                                                                   21                                      )    (1) Violations of the Fair Credit
                                                                                   22
                                                                                                                           )        Reporting Act 15 U.S.C. § 1681, et
                                                                                        VIVINT SOLAR INC. and SOLAR        )        seq.; and
                                                                                   23   MOSAIC INC.,                       )    (2) Violations of Cal. Civ. Code §
                                                                                   24
                                                                                                                           )        1785.19
                                                                                                     Defendants.           )
                                                                                   25                                      )
                                                                                   26
                                                                                                                           )    DEMAND FOR JURY TRIAL
                                                                                                                           )
                                                                                   27                                      )
                                                                                   28
                                                                                        __________________________________ )

                                                                                                                             -1-
                                                                                                                   CLASS ACTION COMPLAINT
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                                                                                    1   Plaintiff VICTOR R. DEL LLANO alleges as follows:

                                                                                    2                                       INTRODUCTION
                                                                                    3         1.       Plaintiff VICTOR R. DEL LLANO, by and through his attorneys, on

                                                                                    4   behalf of himself and the classes set forth below, (hereinafter referred to as
                                                                                    5   “Plaintiff”), brings this lawsuit against Defendant VIVINT SOLAR INC. (hereinafter
                                                                                    6   “VIVINT”) and Defendant SOLAR MOSAIC INC. (hereinafter “MOSAIC”) who
                                                                                    7   routinely procure credit reports without a permissible purpose in violation of the Fair
                                                                                    8   Credit Reporting Act (“FCRA”) and the California Consumer Credit Reporting
                                                                                    9   Agencies Act (“CCRAA”).
                                                                                   10         2.       Plaintiff brings this action to seek actual damages, statutory damages,
                                                                                   11   injunctive relief, attorneys’ fees and costs, and other relief the Court deems
                                                                                   12   appropriate.
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                                                                                              3.       Plaintiff alleges as follows, upon personal knowledge as to himself and
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                                                                                   14   his own acts and experiences, and, as to all other matters, upon information and
                                                                                   15   belief, including investigation conducted by his attorneys.
                                                                                   16         4.       Plaintiff makes these allegations on information and belief, with the
                                                                                   17   exception of those allegations that pertain to Plaintiff, or to a Plaintiff's counsel,
                                                                                   18   which Plaintiff alleges on personal knowledge.
                                                                                   19         5.       While many violations are described below with specificity, this
                                                                                   20   Complaint alleges violations of the statutes cited in their entirety.
                                                                                   21         6.       Unless otherwise stated, Plaintiff alleges that any violations by
                                                                                   22   Defendant were knowing and intentional, and that Defendant did not maintain
                                                                                   23   procedures reasonably adapted to avoid any such violations.
                                                                                   24         7.       Unless otherwise indicated, the use of Defendant in this Complaint
                                                                                   25   includes all agents, employees, officers, members, directors, heirs, successors,
                                                                                   26   assigns, principals, trustees, sureties, subrogees, representatives, and insurers of
                                                                                   27   Defendant.
                                                                                   28


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                                                                                                                      CLASS ACTION COMPLAINT
                                                                                   Case 3:17-cv-01429-AJB-MDD Document 1 Filed 07/14/17 PageID.3 Page 3 of 18



                                                                                    1                                         PARTIES

                                                                                    2         8.     Plaintiff is, and at all times mentioned herein was, an individual, residing

                                                                                    3   in the State of California.

                                                                                    4         9.     Plaintiff is a natural person whose credit report was affected by an
                                                                                    5   unauthorized inquiry. In addition, Plaintiff is a “consumer” as the term is defined by
                                                                                    6   15 U.S.C. section 1681a(c).
                                                                                    7         10.    Plaintiff is informed and believes, and thereon alleges, that Defendant
                                                                                    8   VIVINT is a “person” as the term is defined by 15 U.S.C. section 1681a(b).
                                                                                    9         11.    Plaintiff is informed and believes, and thereon alleges, that Defendant
                                                                                   10   MOSAIC is a “person” as the term is defined by 15 U.S.C. section 1681a(b).
                                                                                   11         12.    Plaintiff is informed and believes, and thereupon alleges, that Trans
                                                                                   12   Union is a “consumer reporting agency” as defined under 15 U.S.C. section 1681a(f).
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                                                                                              13.    Plaintiff is informed and believes, and thereupon alleges, that Defendant
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                                                                                   14   VIVINT is, and at all times mentioned herein was, a company conducting and
                                                                                   15   engaging in business in the County of San Diego, State of California.
                                                                                   16         14.    Plaintiff is informed and believes, and thereupon alleges, that Defendant
                                                                                   17   MOSAIC is, and at all times mentioned herein was, a company conducting and
                                                                                   18   engaging in business in the State of California.
                                                                                   19         15.    Defendant VIVINT is a subscriber and user of consumer reports issued
                                                                                   20   by Trans Union.
                                                                                   21         16.    Defendant MOSAIC is a subscriber and user of consumer reports issued
                                                                                   22   by Trans Union.
                                                                                   23         17.    Plaintiff is informed and believes, and thereupon alleges, that Defendant
                                                                                   24   VIVINT acquired Plaintiff’s credit information through an unauthorized inquiry of
                                                                                   25   Plaintiff’s “consumer report” as that term is defined by 15 U.S.C. section 1681a(d)(1).
                                                                                   26         18.    Plaintiff is informed and believes, and thereupon alleges, that Defendant
                                                                                   27   MOSAIC acquired Plaintiff’s credit information through an unauthorized inquiry of
                                                                                   28   Plaintiff’s “consumer report” as that term is defined by 15 U.S.C. section 1681a(d)(1).

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                                                                                                                      CLASS ACTION COMPLAINT
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                                                                                    1                               JURISDICTION AND VENUE

                                                                                    2         19.      This Court has jurisdiction under 28 U.S.C. section 1331, and 28 U.S.C.

                                                                                    3   section 1367 for supplemental state claims.

                                                                                    4         20.      This action arises out of Defendants’ violations of the FCRA. Because
                                                                                    5   Defendants do business within the State of California, personal jurisdiction is
                                                                                    6   established.
                                                                                    7         21.      Venue is proper pursuant to 28 U.S.C. section 1391(b).
                                                                                    8                         THE FCRA’S PRIVACY PROTECTIONS
                                                                                    9         22.      Congress enacted the FCRA in 1970 to ensure fair and accurate credit
                                                                                   10   reporting, promote efficiency in the banking system, and protect consumer privacy.
                                                                                   11         23.      In order to protect consumer privacy, the FCRA prohibits users from
                                                                                   12   obtaining consumer reports unless the user has a permissible purpose for procuring
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                                                                                        the report, as defined in the statute. Specifically, the FCRA, 15 U.S.C. section
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                                                                                   14   1681b(f), provides:
                                                                                   15           A person shall not use or obtain a consumer report for any purpose unless
                                                                                                (1) the consumer report is obtained for a purpose for which the consumer
                                                                                   16
                                                                                                report is authorized to be furnished under this section; and (2) the purpose
                                                                                   17           is certified in accordance with section 1681e of this title by a prospective
                                                                                                user of the report through a general or specific certification.
                                                                                   18

                                                                                   19
                                                                                              24.      Similarly, the CCRAA prohibits users who lack a permissible purpose
                                                                                   20
                                                                                        from “knowingly and willfully obtain[ing] access to a file” or “knowingly and
                                                                                   21
                                                                                        willfully obtain[ing] data from a file.” See Cal. Civil Code § 1785.19.
                                                                                   22
                                                                                              25.      One permissible purpose for obtaining a credit report is for use in
                                                                                   23
                                                                                        connection with a credit transaction involving a consumer. See 15 U.S.C. §
                                                                                   24
                                                                                        1681a(3)(A).
                                                                                   25
                                                                                              26.      In all circumstances relating to reports procured in connection with credit
                                                                                   26
                                                                                        transactions, if the consumer has neither initiated a transaction nor authorized the
                                                                                   27
                                                                                        provision of a full report, the entity procuring the report can see only limited
                                                                                   28
                                                                                        information about the consumer. See 15 U.S.C. §§ 1681b(a)(3)(A) and 1681b(c).
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                                                                                                                       CLASS ACTION COMPLAINT
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                                                                                    1                                    RELEVANT FACTS

                                                                                    2   Defendant VIVANT
                                                                                    3         27.    On March 27, 2017, Plaintiff received a notice that someone had

                                                                                    4   accessed his credit report. Upon review of his Trans Union credit report, Plaintiff
                                                                                    5   discovered that Defendant VIVINT accessed his Trans Union credit file on March 27,
                                                                                    6   2017. In connection therewith, Defendant made a general or specific certification to
                                                                                    7   Trans Union that Defendant sought the information because Plaintiff had an existing
                                                                                    8   credit account with Defendant and Defendant needed to review all of Plaintiff’s
                                                                                    9   existing credit accounts to determine whether Plaintiff continued to meet the terms of
                                                                                   10   Plaintiff’s credit account with Defendant.
                                                                                   11         28.    Plaintiff never conducted any business nor incurred any additional
                                                                                   12   financial obligations to Defendant VIVINT. Further, Defendant VIVINT did not
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                                                                                        offer Plaintiff credit or otherwise make a firm offer of credit.
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                                                                                   14   Defendant MOSAIC
                                                                                   15         29.    On March 27, 2017, Plaintiff received a notice that someone had
                                                                                   16   accessed his credit report. Upon review of his Trans Union credit report, Plaintiff
                                                                                   17   discovered that Defendant MOSAIC accessed his Trans Union credit file on March
                                                                                   18   27, 2017. In connection therewith, Defendant made a general or specific certification
                                                                                   19   to Trans Union that Defendant sought the information because Plaintiff had initiated a
                                                                                   20   credit transaction for the extension of credit from Defendant.
                                                                                   21         30.    Plaintiff never conducted any business nor incurred any additional
                                                                                   22   financial obligations to Defendant MOSAIC. Further, Defendant MOSAIC did not
                                                                                   23   offer Plaintiff credit or otherwise make a firm offer of credit.
                                                                                   24         31.    15 U.S.C. section 1681b delineates the only permissible uses of, or
                                                                                   25   access to, consumer reports, including “to use the information in connection with a
                                                                                   26   credit transaction involving the consumer on whom the information is to be furnished
                                                                                   27   and involving the extension of credit to, or review or collection of an account of, the
                                                                                   28   consumer.” See 15 U.S.C. § 1681b(a)(3)(A).

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                                                                                    1         32.    15 U.S.C. section 1681b(f) provides that “[a] person shall not use or

                                                                                    2   obtain a consumer report for any purpose unless– (1) the consumer report is obtained

                                                                                    3   for a purpose for which the consumer report is authorized to be furnished under this

                                                                                    4   section; and (2) the purpose is certified in accordance with section 1681e of this title
                                                                                    5   by a prospective user of the report through a general or specific certification.”
                                                                                    6         33.    15 U.S.C. section 1681e provides that “Every consumer reporting agency
                                                                                    7   shall […] require that prospective users of the information identify themselves, certify
                                                                                    8   the purposes for which the information is sought, and certify that the information will
                                                                                    9   be used for no other purpose.”
                                                                                   10         34.     Upon requesting Plaintiff’s credit report from Trans Union, Defendants
                                                                                   11   certified that they would use the information for a permissible purpose as enumerated
                                                                                   12   under 15 U.S.C. section 1681b and for no other purpose.
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                                                                                              35.    Because Trans Union requires a certification prior to the dissemination
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                                                                                   14   of a consumer’s credit report, Defendants were on notice and aware of the
                                                                                   15   requirements under 15 U.S.C. section 1681b and other provisions of the FCRA.
                                                                                   16         36.    15 U.S.C. section 1681b delineates the only permissible uses of, or
                                                                                   17   access to, consumer reports, including “to use the information in connection with a
                                                                                   18   credit transaction involving the consumer on whom the information is to be furnished
                                                                                   19   and involving the extension of credit to, or review or collection of an account of, the
                                                                                   20   consumer.” 15 U.S.C. § 1681b(a)(3)(A).
                                                                                   21         37.    Plaintiff did not initiate any credit transaction with Defendants as
                                                                                   22   provided in 15 U.S.C. § 1681b(a)(3)(A).
                                                                                   23         38.    Plaintiff was not involved in any credit transaction with Defendants
                                                                                   24   involving the extension of credit to, or review or collection of an account of, the
                                                                                   25   consumer as provided in 15 U.S.C. § 1681b(a)(3)(A).
                                                                                   26         39.    Plaintiff is not aware of any collection accounts, including any accounts
                                                                                   27   that were purchased or acquired by Defendants that would permit Defendants to
                                                                                   28   obtain Plaintiff’s credit report as provided in 15 U.S.C. § 1681b(a)(3)(A).

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                                                                                                                      CLASS ACTION COMPLAINT
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                                                                                    1         40.   Plaintiff does not have any existing credit accounts that were subject to

                                                                                    2   collection efforts by Defendants as provided in 15 U.S.C. § 1681b(a)(3)(A).

                                                                                    3         41.   Plaintiff did not engage Defendants for any employment relationship as

                                                                                    4   provided in 15 U.S.C. § 1681b(a)(3)(B).
                                                                                    5         42.   Plaintiff did not engage Defendants for any insurance as provided in 15
                                                                                    6   U.S.C. § 1681b(a)(3)(C).
                                                                                    7         43.   Plaintiff did not apply for a license or other benefit granted by a
                                                                                    8   governmental instrumentality as provided in 15 U.S.C. § 1681b(a)(3)(D).
                                                                                    9         44.   Plaintiff did not have an existing credit obligation that would permit
                                                                                   10   Defendants to obtain his credit report as provided in 15 U.S.C. § 1681b(a)(3)(E).
                                                                                   11         45.   Plaintiff did not conduct any business transaction nor incur any
                                                                                   12   additional financial obligations to Defendants as provided in 15 U.S.C. §
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                                                                                        1681b(a)(3)(F).
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                                                                                   14         46.   Plaintiff did not conduct any business transaction nor incur any
                                                                                   15   additional financial obligations to Defendants as provided in 15 U.S.C. §
                                                                                   16   1681b(a)(3)(F).
                                                                                   17         47.   Defendants’ inquiry for Plaintiff’s consumer report information falls
                                                                                   18   outside the scope of any permissible use or access included in 15 U.S.C. section
                                                                                   19   1681b.
                                                                                   20         48.   Therefore, Defendants violated 15 U.S.C. section 1681b by using
                                                                                   21   Plaintiff’s consumer report for an impermissible use that falls outside the scope of 15
                                                                                   22   U.S.C. section 1681b.
                                                                                   23         49.   Because Trans Union requires Defendants to certify a permissible
                                                                                   24   purpose prior to the dissemination of each consumer credit inquiry, Defendants were
                                                                                   25   aware of and had the ability to comply with the requirements under 15 U.S.C. section
                                                                                   26   1681b and other provisions of the FCRA.
                                                                                   27         50.   Defendants actions were willful under 15 U.S.C. section 1681n because
                                                                                   28   Defendants either knowingly or recklessly disregarded the FCRA’s prohibitions on

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                                                                                    1   impermissibly pulling consumers’ credit reports. See Doe v. Sentech Employment

                                                                                    2   Services, Inc., (2016 WL 2851427, *6 (E.D. Mich. May 16, 2016) citing Singleton v.

                                                                                    3   Domino’s Pizza, LLC, 2012 WL 245965, *4 (D. Md. Jan. 25, 2012) [“Assertions that

                                                                                    4   a defendant is aware of the FCRA, but failed to comply with its requirements, are
                                                                                    5   sufficient to support an allegation of willfulness and to avoid dismissal.”].
                                                                                    6         51.    The FCRA was enacted in 1970; Defendant VIVINT has had over 40
                                                                                    7   years to become compliant.
                                                                                    8         52.    Defendants violated a clear statutory mandate set forth in 15 U.S.C.
                                                                                    9   section 1681q.
                                                                                   10         53.    Plaintiff suffered an invasion of a legally protected interest when
                                                                                   11   Defendants accessed his highly confidential personal information on his credit report
                                                                                   12   at a time when Defendants had no right to do so, an invasion of Plaintiff’s right to
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                                                                                        privacy. The FCRA, through 15 U.S.C. section 1681b, protects consumers like
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                                                                                   14   Plaintiff from this precise behavior.
                                                                                   15         54.    Upon information and belief, by impermissibly pulling a consumer’s
                                                                                   16   credit report, Defendants takes an unfair competitive advantage in the marketplace by
                                                                                   17   better identifying consumers assets, intimate personal information, and financial
                                                                                   18   standing which all allow Defendants to selectively determine ideal clients for its
                                                                                   19   products, an advantage other competitors in the marketplace are not afforded when
                                                                                   20   adhering to the law. For instance, Defendants obtains credit reports on consumers for
                                                                                   21   one or more of the following reasons: (1) marketing, (2) research, (3) investigation,
                                                                                   22   (4) sale of information to a third party, (5) maliciously violate a consumer’s privacy,
                                                                                   23   or (6) some other impermissible purpose.
                                                                                   24         55.    The FCRA expressly provides that Congress made the following finding:
                                                                                   25   “There is a need to insure that consumer reporting agencies exercise their grave
                                                                                   26   responsibilities with fairness, impartiality and a respect for the consumer’s right to
                                                                                   27   privacy.” See 15 U.S.C. § 1681a(4).
                                                                                   28


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                                                                                    1          56.    Plaintiff was affected both psychologically and physiologically, because

                                                                                    2   when he realized the behavior of Defendants described above (pulling his credit

                                                                                    3   report without any authorization), Plaintiff felt that his privacy had been invaded and

                                                                                    4   that his personal and private information had been disclosed to Defendants, who had
                                                                                    5   no right to Plaintiff’s information.
                                                                                    6          57.    The injury suffered by Plaintiff is concrete because, on information and
                                                                                    7   belief, Defendants’ violation of 15 U.S.C. section 1681b caused Plaintiff’s credit
                                                                                    8   score to drop directly impacting Plaintiff’s credit availability and finances. Plaintiff
                                                                                    9   also suffered from Defendants’ invasion of Plaintiff’s privacy. In enacting 15 U.S.C.
                                                                                   10   section 1681b, Congress specifically sought to protect consumers from invasions of
                                                                                   11   privacy and created restrictions on access to consumers’ sensitive financial
                                                                                   12   information in their credit reports.
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                                                                                               58.    Further, Defendants increased the risk that Plaintiff and the class
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                                                                                   14   members will be injured if there is a data breach on Defendants’ computer systems by
                                                                                   15   acquiring additional highly sensitive information about Plaintiff and the class
                                                                                   16   members and saving that information onto its computer system. Data breaches are
                                                                                   17   increasingly common1 and companies, like the Defendants, are frequent targets of
                                                                                   18   cybercriminals.2
                                                                                   19          59.    As such, Plaintiff is entitled to the remedies available under 15 U.S.C.
                                                                                   20   section 1681n and 15 U.S.C. section 1681o.
                                                                                   21                                    CLASS ALLEGATIONS
                                                                                   22          60.    Plaintiff brings this action on his own behalf, and on behalf of all others
                                                                                   23   similarly situated.
                                                                                   24   Defendant VIVINT
                                                                                   25          61.    Plaintiff defines the VIVINT FCRA Class as follows:
                                                                                   26
                                                                                        1
                                                                                   27
                                                                                         See Data Breaches, Kerbs, available at http://krebsonsecurity.com/category/data-breaches/
                                                                                        2
                                                                                         See http://www.esecurityplanet.com/network-security/capital-one-acknowledges-insider-
                                                                                   28   breach.html; Also see http://ago.vermont.gov/assets/files/Consumer/Security_Breach/2013-12-
                                                                                        30%20Capital%20One%20Security%20Breach%20Notice%20Ltr%20to%20Consumer.pdf.
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                                                                                     1                                      CLASS A

                                                                                     2              All persons with addresses within California whose consumer
                                                                                                    credit report from any of these three major credit agencies
                                                                                     3              (Experian, Trans Union, and Equifax) were accessed by
                                                                                     4              Defendant VIVINT in the two years predating the filing of this
                                                                                                    Complaint and continuing through the date the class list is
                                                                                     5              prepared.
                                                                                     6
                                                                                                                            CLASS B
                                                                                     7
                                                                                                    All persons with addresses within California whose consumer
                                                                                     8              credit report from any of these three major credit agencies
                                                                                     9              (Experian, Trans Union, and Equifax) were accessed by
                                                                                                    Defendant VIVINT in the five years predating the filing of this
                                                                                    10
                                                                                                    Complaint and continuing through the date the class list is
                                                                                    11              prepared.
                                                                                    12
                                                                                              62.   Plaintiff defines the VIVINT CCRAA Class as follows:
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                                                                                                                            CLASS A
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                                                                                    14
                                                                                                    All persons with addresses within California whose consumer
                                                                                    15              credit report from any of these three major credit agencies
                                                                                                    (Experian, Trans Union, and Equifax) were accessed by
                                                                                    16
                                                                                                    Defendant VIVINT in the two years predating the filing of this
                                                                                    17              Complaint and continuing through the date the class list is
                                                                                                    prepared.
                                                                                    18

                                                                                    19                                      CLASS B
                                                                                    20              All persons with addresses within California whose consumer
                                                                                                    credit report from any of these three major credit agencies
                                                                                    21
                                                                                                    (Experian, Trans Union, and Equifax) were accessed by
                                                                                    22              Defendant VIVINT in the five years predating the filing of this
                                                                                                    Complaint and continuing through the date the class list is
                                                                                    23
                                                                                                    prepared.
                                                                                    24
                                                                                         Defendant MOSAIC
                                                                                    25
                                                                                              63.   Plaintiff defines the MOSAIC FCRA Class as follows:
                                                                                    26
                                                                                                                            CLASS A
                                                                                    27
                                                                                                    All persons with addresses within California whose consumer
                                                                                    28
                                                                                                    credit report from any of these three major credit agencies
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                                                                                     1                (Experian, Trans Union, and Equifax) were accessed by
                                                                                                      Defendant MOSAIC in the two years predating the filing of this
                                                                                     2                Complaint and continuing through the date the class list is
                                                                                     3                prepared.

                                                                                     4                                           CLASS B
                                                                                     5                All persons with addresses within California whose consumer
                                                                                     6                credit report from any of these three major credit agencies
                                                                                                      (Experian, Trans Union, and Equifax) were accessed by
                                                                                     7                Defendant MOSAIC in the five years predating the filing of this
                                                                                     8                Complaint and continuing through the date the class list is
                                                                                                      prepared.
                                                                                     9

                                                                                    10         64.    Plaintiff defines the MOSAIC CCRAA Class as follows:
                                                                                    11                                           CLASS A
                                                                                    12                All persons with addresses within California whose consumer
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                                                                                                      credit report from any of these three major credit agencies
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                                                                                                      (Experian, Trans Union, and Equifax) were accessed by
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                                                       SAN DIEGO, CA 92150
                                                        TEL: (858) 348-4938




                                                                                    14                Defendant MOSAIC in the two years predating the filing of this
                                                                                                      Complaint and continuing through the date the class list is
                                                                                    15
                                                                                                      prepared.
                                                                                    16
                                                                                                                                 CLASS B
                                                                                    17
                                                                                                      All persons with addresses within California whose consumer
                                                                                    18
                                                                                                      credit report from any of these three major credit agencies
                                                                                    19                (Experian, Trans Union, and Equifax) were accessed by
                                                                                                      Defendant MOSAIC in the five years predating the filing of this
                                                                                    20
                                                                                                      Complaint and continuing through the date the class list is
                                                                                    21                prepared.
                                                                                    22

                                                                                    23         65.    Defendants and its employees or agents are excluded from the Classes.
                                                                                    24   Plaintiff does not know the number of members in the Classes, but believes the
                                                                                    25   number is in the hundreds if not more. This matter should therefore be certified as a
                                                                                    26   Class action to assist in the expeditious litigation of this matter.
                                                                                    27         66.    Plaintiff and members of the Classes were harmed by the acts of
                                                                                    28   Defendants in at least the following ways: Defendants, either directly or through its

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                                                                                     1   agents, engaged in illegal and deceptive practices, when it submitted an unauthorized

                                                                                     2   consumer report inquiry under 15 U.S.C. section 1681 et seq. Plaintiff and the

                                                                                     3   Classes’ members were damaged thereby.

                                                                                     4         67.    This suit seeks only recovery of actual and statutory damages on behalf
                                                                                     5   of the Classes, and it expressly is not intended to request any recovery for personal
                                                                                     6   injury and claims related thereto. Plaintiff reserves the right to expand the Classes’
                                                                                     7   definitions to seek recovery on behalf of additional persons as warranted as facts are
                                                                                     8   learned in further investigation and discovery.
                                                                                     9         68.    The joinder of the Classes’ members is impractical and the disposition of
                                                                                    10   their claims in the Class action will provide substantial benefits both to the parties and
                                                                                    11   to the court. The Classes can be identified through Defendants’ records or
                                                                                    12   Defendants’ agents’ records.
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                                                                                               69.    There is a well-defined community of interest in the questions of law and
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                                                                                    14   fact involved affecting the parties to be represented. The questions of law and fact to
                                                                                    15   the Classes predominate over questions which may affect individual members of the
                                                                                    16   Classes, including the following:
                                                                                    17         a) Whether, within the class period, Defendants or its agents submitted any
                                                                                    18            consumer credit report inquiries;
                                                                                    19         b) Whether Defendants procured credit reports without a permissible purpose
                                                                                    20            under the FCRA;
                                                                                    21         c) Whether Defendants’ conduct was willful under the FCRA;
                                                                                    22         d) Whether Defendants accessed or obtained data from consumer files in
                                                                                    23            violation of the CCRAA;
                                                                                    24         e) Whether Defendants accessed or obtained data from consumer files under
                                                                                    25            false pretense of an account review when consumers never held an account
                                                                                    26            with Defendants.
                                                                                    27         e) Whether Plaintiff and the members of the Classes were damaged thereby,
                                                                                    28            and the extent of damages for such violations.

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                                                                                     1         70.    Plaintiff will fairly and adequately protect the interest of the Classes.

                                                                                     2         71.    Plaintiff has retained counsel experienced in consumer litigation,

                                                                                     3   including class action litigation and in handling claims involving violations of the Fair

                                                                                     4   Credit Reporting Act.
                                                                                     5         72.    Plaintiff’s claims are typical of the claims of the Classes, which all arise
                                                                                     6   from the same operative facts involving unlawful consumer credit report practices.
                                                                                     7         73.    A class action is a superior method for the fair and efficient adjudication
                                                                                     8   of this controversy.
                                                                                     9         74.    Class-wide damages are essential to induce Defendants to comply with
                                                                                    10   the Federal and State laws alleged in the Complaint.
                                                                                    11         75.    The interests of class members in individually controlling the
                                                                                    12   prosecution of separate claims against Defendants is small because the maximum
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                                                                                         statutory damages in an individual action under the FCRA is minimal. Management
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                                                                                    14   of these claims is likely to present significantly fewer difficulties than those presented
                                                                                    15   in many class claims, e.g. securities fraud.
                                                                                    16         76.    Defendants have acted on grounds generally applicable to the Classes,
                                                                                    17   thereby making appropriate final declaratory relief with respect to each class as a
                                                                                    18   whole.
                                                                                    19         77.    Plaintiff contemplates providing notice to the putative class members by
                                                                                    20   direct mail in the form of a postcard and via Internet website.
                                                                                    21         78.    Plaintiff requests certification of a hybrid class combining the elements
                                                                                    22   of Fed. R. Civ. P. 23(b)(3) for monetary damages and Fed. R. Civ. P. 23(b)(2) for
                                                                                    23   equitable relief.
                                                                                    24                             FIRST CAUSE OF ACTION
                                                                                               (Violation of the FCRA: Impermissible Access against all Defendants)
                                                                                    25
                                                                                               79.    Plaintiff incorporates by reference all of the above paragraphs of this
                                                                                    26
                                                                                         Complaint as though fully stated herein.
                                                                                    27

                                                                                    28


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                                                                                     1         80.    The FCRA establishes very specific rules placing limitations upon an

                                                                                     2   entity (or “person”) seeking to obtain a consumer’s credit history or the content of a

                                                                                     3   consumer’s credit file.

                                                                                     4         81.    15 U.S.C. section1 1681b(f) states in part the following:
                                                                                     5                Certain use or obtaining of information prohibited. A person shall
                                                                                                      not use or obtain a consumer report for any purpose unless –
                                                                                     6

                                                                                     7                 (1) the consumer report is obtained for a purpose for which the
                                                                                                           consumer report is authorized to be furnished under this section;
                                                                                     8                     and
                                                                                     9                 (2) the purpose is certified in accordance with section 1681e of
                                                                                                           this title by a prospective user of the report through a general or
                                                                                    10
                                                                                                           specific certification.
                                                                                    11
                                                                                               82.    15 U.S.C. section 1681b(a)(3) lists the all-inclusive purposes for which a
                                                                                    12
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                                                                                         consumer report can be obtained.
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                                                                                               83.    15 U.S.C. section 1681b(a)(3) states in relevant part as follows:
                                                        TEL: (858) 348-4938




                                                                                    14
                                                                                                      In General. […] Any consumer reporting agency may furnish a
                                                                                    15
                                                                                                      consumer report under the following circumstances and no other:
                                                                                    16
                                                                                                      (3) To a person which it has reason to believe–
                                                                                    17

                                                                                    18                      (A) intends to use the information in connection with a
                                                                                                                credit transaction involving the consumer on whom the
                                                                                    19
                                                                                                                information is to be furnished and involving the extension
                                                                                    20                          of credit to, or review or collection of an account of, the
                                                                                                                consumer[…]
                                                                                    21

                                                                                    22         84.    When requesting Plaintiff’s credit information from Trans Union,
                                                                                    23   Defendant VIVINT and Defendant MOSAIC had actual knowledge that they did not
                                                                                    24   have a permissible purpose to obtain such credit information concerning Plaintiff.
                                                                                    25         85.    For Defendants to repeatedly and impermissibly access the credit files of
                                                                                    26   consumers without permission, constitutes willful non-compliance with the FCRA.
                                                                                    27         86.    Upon information and belief, Defendants obtain credit reports on
                                                                                    28   consumers for one or more of the following reasons: (1) marketing, (2) research, (3)

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                                                                                     1   investigation, (4) sale of information to a third party, (5) maliciously violate a

                                                                                     2   consumer’s privacy, or (6) some other impermissible purpose.

                                                                                     3         87.     As a result of each and every negligent violation of the FCRA, Plaintiff

                                                                                     4   is entitled to actual damages, pursuant to 15 U.S.C. section 1681o(a)(1); and
                                                                                     5   reasonable attorney’s fees and costs pursuant to 15 U.S.C. section 1681o(a)(2), from
                                                                                     6   Defendants.
                                                                                     7         88.     As a result of each and every willful violation of the FCRA, Plaintiff is
                                                                                     8   entitled to actual damages or damages of not less than $100 and not more than $1,000
                                                                                     9   and such amount as the court may allow for all other class members, pursuant to 15
                                                                                    10   U.S.C. section 1681n(a)(1)(A); punitive damages as the court may allow, pursuant to
                                                                                    11   15 U.S.C. section 1681n(a)(2); and reasonable attorney’s fees and costs pursuant to
                                                                                    12   15 U.S.C. section 1681n(a)(3) from Defendants.
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                                                                                                                 SECOND CAUSE OF ACTION
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                                                                                             (Violation of the CCRAA: Impermissible Access against all Defendants)
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                                                                                    14
                                                                                               89.     Plaintiff incorporates by reference all of the above paragraphs of this
                                                                                    15
                                                                                         Complaint as though fully stated herein.
                                                                                    16
                                                                                               90.     Plaintiff did not authorize Defendants to do a pull of his credit reports.
                                                                                    17
                                                                                               91.     Defendants lacked any permissible purpose to obtain the credit reports
                                                                                    18
                                                                                         under Cal. Civil Code section 1785.11.
                                                                                    19
                                                                                               92.     Defendants knowingly and willfully accessed or obtained data from the
                                                                                    20
                                                                                         consumer files of Plaintiff and the class members in violation of Cal. Civil Code
                                                                                    21
                                                                                         section 1785.19. Upon information and belief, Defendants obtain credit reports on
                                                                                    22
                                                                                         consumers for one or more of the following reasons: (1) marketing, (2) research, (3)
                                                                                    23
                                                                                         investigation, (4) sale the information to a third party, (5) maliciously violate a
                                                                                    24
                                                                                         consumer’s privacy, or (6) some other impermissible purpose.
                                                                                    25
                                                                                               93.     Plaintiff is entitled to civil penalties of not more than $2,500 for each and
                                                                                    26
                                                                                         every one of these violations pursuant to Cal. Civil Code section 1785.19. Plaintiff is
                                                                                    27
                                                                                         further entitled to actual damages and punitive damages of not less than $100 and not
                                                                                    28


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                                                                                     1   more than $5,000 for each violation. Plaintiff, the Damages Class, and the Injunctive

                                                                                     2   Relief Two-Year Subclass, are entitled also to injunctive relief, and to recover their

                                                                                     3   costs and attorneys’ fees, pursuant to Cal. Civil Code section 1785.31.

                                                                                     4                  REQUEST FOR PRESERVATION OF EVIDENCE
                                                                                     5         1.     Preserve all forms of electronic data, regardless of where the data exists,
                                                                                     6   without modification to or deletion of any potentially discoverable data;
                                                                                     7         2.     Suspend all procedures that may alter or delete computer data;
                                                                                     8         3.     Prevent deleting, overwriting, defragmenting, or compressing the data;
                                                                                     9         4.     Preserve all archived back-up tapes and ensure that (a) if archive tapes
                                                                                    10   are rotated, the relevant tapes are removed from the rotation; (b) if backups are made
                                                                                    11   to hard drives, preserve the hard drive as well;
                                                                                    12         5.     Preserve the contents of all hard drives, network drives, tape drives,
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                                                                                         optical drives, floppy disks, CD and DVD drives, and all other types of drives or
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                                                                                    14   storage media that are within the possession, custody or control of all people who
                                                                                    15   have knowledge of relevant facts and those who work with them, such as assistants;
                                                                                    16         6.     Preserve the contents of all information on portable computers–such as
                                                                                    17   laptops and palmtops–used by those people as well as home computers, if these are
                                                                                    18   used for work purposed;
                                                                                    19         7.     Preserve the contents of all data on computers that were used since the
                                                                                    20   limitations period on the lawsuit began (for example; five years prior to filing) but
                                                                                    21   that are no longer in use; and
                                                                                    22         8.     Disclose electronic information in the Rule 26 initial disclosures.
                                                                                    23                              REQUEST FOR JURY TRIAL
                                                                                    24         As declared by the seventh amendment to the Constitution of the United States
                                                                                    25   of America, Plaintiff is entitled to, and demands, a trial by jury.
                                                                                    26                 PRAYER FOR DAMAGES AND OTHER REMEDIES
                                                                                    27         1.     An order certifying the Class as requested herein;
                                                                                    28         2.     An order appointing the Plaintiff as the representative of the Class;

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                                                                                     1        3.    An order certifying Plaintiff’s counsel as Class Counsel;

                                                                                     2        4.    An order requiring Defendants, at their own cost, to notify all members

                                                                                     3              of the Classes of the unlawful acts discussed herein;

                                                                                     4        5.    Declaring that Defendants violated the FCRA;
                                                                                     5        6.    An Order requiring return of Class members’ confidential consumer
                                                                                     6              report and destruction of any copy;
                                                                                     7        7.    Declaring that Defendants acted willfully, in knowing or reckless
                                                                                     8              disregard of Plaintiff’s rights and its obligations under the FCRA;
                                                                                     9        8.    Declaring that Defendants violated the CCRAA;
                                                                                    10        9.    Awarding actual damages, punitive damages, civil penalties, costs, and
                                                                                    11              attorney’s fees as provided under the CCRAA;
                                                                                    12        10.   Awarding appropriate injunctive relief under the CCRAA,
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                                                                                                    including an injunction requiring that Defendants cease its unlawful
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                                                                                    14              practices and ensure that consumer reporting agencies remove
                                                                                    15              Defendants’ unauthorized credit inquiries from Plaintiff’s and the Class
                                                                                    16              members’ credit reports;
                                                                                    17        11.   Injunctive relief requiring Defendants to refrain from further
                                                                                    18              impermissible consumer credit pulls in compliance with 15 U.S.C.
                                                                                    19              section 1681b;
                                                                                    20        12.   Actual damages suffered by Plaintiff and each Class member, pursuant
                                                                                    21              to 15 U.S.C. section 1681o(a)(1), against Defendants;
                                                                                    22        13.   Statutory damages of not less than $100 and not more than $1,000 to
                                                                                    23              Plaintiff and each Class member, pursuant to 15 U.S.C. section
                                                                                    24              1681n(a)(1), against Defendants;
                                                                                    25        14.   An award of costs of litigation and reasonable attorney’s fees, pursuant
                                                                                    26              to 15 U.S.C. sections 1681n(a)(3) and 1681o(a)(2); and
                                                                                    27        15.   Any and all other relief that this Court deems just and proper.
                                                                                    28


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                                                                                     1   Respectfully Submitted,

                                                                                     2   DATED: July 14, 2017             MASHIRI LAW FIRM
                                                                                                                          A Professional Corporation
                                                                                     3

                                                                                     4
                                                                                                                          By: /s/ Alex Asil Mashiri
                                                                                                                              Alex Asil Mashiri
                                                                                     5                                        Attorney for Plaintiff
                                                                                     6
                                                                                                                              VICTOR R. DEL LLANO

                                                                                     7                                    THE JAMI LAW FIRM P.C.
                                                                                     8                                    By: /s/ Tamim Jami
                                                                                     9                                        Tamim Jami
                                                                                                                              Attorney for Plaintiff
                                                                                    10                                        VICTOR R. DEL LLANO
                                                                                    11

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